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                   Exhibit 1
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        Bates Range                                   Description
  LSTI-ASUS00000001-6     Third party website selling PA32UC
                          (https://www.bhphotovideo.com/c/product/1430401-
                          REG/asus_pa32uc_32_16_9_wide_gamut.html)
  LSTI-ASUS00000007-22    Third party review of ASUS VN279QL
                          (https://displaylag.com/asus-vn279ql-review-27-amva-low-input-
                          lag/)
  LSTI-ASUS00000023-26    Third party website with various links to places to purchase ASUS
                          VZ27VQ (https://skinflint.co.uk/asus-vz27vq-90lm03e0-b01170-
                          a1654015.html)
  LSTI-ASUS00000027-32    Third party website for ASUS MX34VQ
                          (https://www.kitguru.net/peripherals/james-morris/asus-designo-
                          curve-mx34vq-34in-curved-monitor/4/)
  LSTI-ASUS00000033-41    Third party website for MX259H
                          (https://www.reviewed.com/monitors/products/asus-mx259h)
  LSTI-ASUS00000042-45    Third party website for MX25AQ
                          (https://pcmonitors.info/asus/asus-mx25aq-brings-25-inches-of-
                          style/)
  LSTI-ASUS00000046-49    Third party website for MX25AQ
                          (https://pcmonitors.info/asus/asus-mx25aq-brings-25-inches-of-
                          style/)
  LSTI-ASUS00000050-56    Third party website for MX239H
                          (https://www.displayspecifications.com/en/model/bfbef0d)
  LSTI-ASUS00000057-63    Third party website for MX27AQ
                          (https://www.displayspecifications.com/en/model/c50f63a)
  LSTI-ASUS00000064-72    Third party website review of MZ27AQ
                          (https://www.monitornerds.com/asus-mz27aq-preview/)
  LSTI-ASUS00000073-77    Third party website for MZ27AQL
                          (https://www.provantage.com/asus-mz27aql~7ASUM06M.htm)
  LSTI-ASUS00000078-89    Third party website review of MB169C
                          (http://bestpcmonitor.org/asus-mb169c-usb-type-c-portable-
                          monitor-review/)
  LSTI-ASUS00000090-96    Third party website review of MG278Q
                          (https://www.tomsguide.com/us/asus-mg278q-monitor,review-
                          3094.html)
  LSTI-ASUS00000097-98    Third party website review of MG279Q
                          (http://www.tftcentral.co.uk/reviews/asus_mg279q.htm)
  LSTI-ASUS00000099-111   Third party website review of MG28UQ
                          (https://filmora.wondershare.com/4k/asus-mg28uq-4k-uhd-
                          monitor-review.html)
  LSTI-ASUS00000112       Third party website review of PB277Q
                          (https://www.rtings.com/monitor/reviews/asus/pb277q)
  LSTI-ASUS00000113-120   Third party website review of PB287Q
                          (https://www.displayspecifications.com/en/model/14b763b)
  LSTI-ASUS00000121-131   Third party website review of XG27VQ
                          (https://www.techspot.com/review/1487-asus-rog-strix-
                          xg27vq/page2.html)
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        Bates Range                                  Description
  LSTI-ASUS00000132       Third party website review of PG248Q
                          (https://pcmonitors.info/reviews/asus-pg248q/)
  LSTI-ASUS00000133-135   Third party website review of PG258Q
                          (http://www.tftcentral.co.uk/reviews/asus_rog_swift_pg258q.htm)
  LSTI-ASUS00000136-143   Third party website review of PG278QR
                          (https://www.displayspecifications.com/en/model/7e787a7)
  LSTI-ASUS00000144-151   Third party website for VA326H
                          (https://www.displayspecifications.com/en/model/1fe38ee)
  LSTI-ASUS00000152-158   Third party website for VA32AQ
                          (https://www.displayspecifications.com/en/model/a10883a)
  LSTI-ASUS00000159-165   Third party website for VC239H
                          (https://www.displayspecifications.com/en/model/7763ef0)
  LSTI-ASUS00000166-172   Third party website for VC279H
                          (https://www.displayspecifications.com/en/model/7ad8bc)
  LSTI-ASUS00000173-178   Third party website for VP228H
                          (https://www.displayspecifications.com/en/model/2115813)
  LSTI-ASUS00000179-186   Third party website for VP247H
                          (https://www.displayspecifications.com/en/model/606d819)
  LSTI-ASUS00000187-193   Third party website for VP278H
                          (https://www.displayspecifications.com/en/model/415b816)
  LSTI-ASUS00000194-201   Third party website for VP278QG
                          (https://www.displayspecifications.com/en/model/e56accf)
  LSTI-ASUS00000202-208   Third party website for VP28UQG
                          (https://www.displayspecifications.com/en/model/18d1cfd)
  LSTI-ASUS00000209-217   Third party website review for VX238H
                          (https://www.reviewed.com/monitors/products/asus-vx238h)
  LSTI-ASUS00000218-224   Third party website for VX248H
                          (https://www.displayspecifications.com/en/model/f6861000)
  LSTI-ASUS00000225-234   Third party website review for MB16AC
                          (https://www.monitornerds.com/asus-zenscreen-mb16ac-review/)
  LSTI-ASUS00000235-242   Third party website review for PB258Q
                          (https://www.displayspecifications.com/en/model/3bce615)
